                               UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF TENNESSEE
                                KNOXVILLE – COURTROOM 3A

 Case #: 3:22-mj-2002                                                    Date: June 14, 2022

         United States of America            vs.   Matthew Jones

   3UHVHQW%HIRUH Honorable Jill E. McCook, United States Magistrate Judge



   &RXUWURRP 'HSXW\                    Court Reporter              /DZ&OHUN
   Mallory Dahl                         ECRO                         Michelle Gensheimer


   Asst. U.SAtty V                   3UREDWLRQ2IILFHU V         $WW\ V IRU'HIHQGDQW V 
   Alan Kirk                            Corey Miller                 Benjamin Sharp




   2WKHUV3UHVHQW
   USM - Richie Bradley


   3URFHHGLQJV
   Status conference held. Discussions held. Court set additional status conference in order to be
   advised by parties of matters discussed at hearing in the District of Utah.




 Dates set at this hearing:                                                  DHDGOLQHV set at this hearing:
   Jury Trial:                                                               Discovery DDL:
   Pretrial Conf.:                                                               Motion Cut-Off:
   Detention Hrng.:                                                          Response to MWQV
   0RWLRQ+UQJ                                                                  5HFLSURFDO'LVF
   6WDWXV&RQI June 16, 2022 at 11:00 a.m.                                      3OHD''/ 

           'HIHQGDQWUHPDQGHGWRFXVWRG\          Defendant released on Order Setting Conditions of Release.

7LPH 2:05 p.m.          WR 2:45 p.m.

            Mallory Dahl
            ,                'HSXW\&OHUN&(57,)<WKHRIILFLDOUHFRUGRIWKLVSURFHHGLQJLVDQDXGLRILOH
  Case 3:22-mj-02002-JEM  Document
          .QR['&5B 322mj2002         26 Filed 06/14/22
                                   B 061422          B        Page 1 of 1 PageID #: 55
